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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISON

                                     CASE NO.: 9:21-cv-82119

  GAREY GOMEZ,

                  Plaintiff,

  v.

  CERAMIC MATRIX OF FLORIDA, INC,

                  Defendant.


                      COMPLAINT FOR COPYRIGHT INFRINGEMENT
                          (INJUNCTIVE RELIEF DEMANDED)

        Plaintiff GAREY GOMEZ by and through his undersigned counsel, brings this

 Complaint against Defendant CERAMIC MATRIX OF FLORIDA, INC for damages and

 injunctive relief, and in support thereof states as follows:

                                  SUMMARY OF THE ACTION

                Plaintiff GAREY GOMEZ (“Gomez”) brings this action for violations of

 exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and distribute Gomez's

 original copyrighted Work of authorship.

                Gomez is a professional photographer from Atlanta, Georgia who works with

 architects, interior designers, construction firms and homebuilders to create beautiful portfolio

 imagery to showcase their work. He is a speaker and educator in the world of architectural

 photography, and is the 2019 PFRE Photographer of the Year. Gomez's passion is working with

 designers and artists who are passionate about their work, and that usually means they will work

 very well together to create something special.




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                 Defendant CERAMIC MATRIX OF FLORIDA, INC (“CMOF”) is a distributor

 of stone & tile from around the world. At all times relevant herein, CMOF owned and operated

 the internet website located at the URL https://ceramicmatrix.com/ (the “Website”).

                 Gomez alleges that CMOF copied Gomez's copyrighted Work from the internet in

 order to advertise, market and promote its business activities. CMOF committed the violations

 alleged in connection with CMOF’s business for purposes of advertising and promoting sales to

 the public in the course and scope of the CMOF’s business.

                                    JURISDICTION AND VENUE

                 This is an action arising under the Copyright Act, 17 U.S.C. § 501.

                 This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

 §§ 1331, 1338(a).

                 Defendant is subject to personal jurisdiction in Florida.

                 Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)

 because the events giving rise to the claims occurred in this district, Defendant engaged in

 infringement in this district, Defendant resides in this district, and Defendant is subject to

 personal jurisdiction in this district.

                                            DEFENDANT

                 Ceramic Matrix of Florida, Inc is a Florida Corporation, with its principal place of

 business at 3308 45th Street, West Palm Beach, FL 33407, and can be served by serving its

 Registered Agent, M. Timothy Hanlon, 340 Royal Poinciana Way, Suite 321, Palm Beach, FL

 33480.

                             THE COPYRIGHTED WORK AT ISSUE

                 In 2018, Gomez created the photograph entitled “2018 -1

 (20180118.Clemons_Pinecrest-94)”, which is shown below and referred to herein as the “Work”.
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                 Gomez registered the Work with the Register of Copyrights on February 26, 2020

 and was assigned the registration number VA 2-198-217. The Certificate of Registration is

 attached hereto as Exhibit 1.

                 Gomez's Work is protected by copyright but is not otherwise confidential,

 proprietary, or trade secrets.

                 At all relevant times Gomez was the owner of the copyrighted Work at issue in

 this case.




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                                  INFRINGEMENT BY DEFENDANT

                 CMOF has never been licensed to use the Work at issue in this action for any

 purpose.

                 On a date after the Work at issue in this action was created, but prior to the filing

 of this action, CMOF copied the Work.

                 On or about March 30, 2021, Gomez discovered the unauthorized use of his Work

 on the Website.

                 CMOF copied Gomez's copyrighted Work without Gomez's permission.

                 After CMOF copied the Work, it made further copies and distributed the Work on

 the internet to promote the sale of goods and services as part of its tile & stone distribution

 business.

                 CMOF copied and distributed Gomez's copyrighted Work in connection with

 CMOF’s business for purposes of advertising and promoting CMOF’s business, and in the

 course and scope of advertising and selling products and services.

                 Gomez's Works are protected by copyright but are not otherwise confidential,

 proprietary, or trade secrets.

                 CMOF committed copyright infringement of the Work as evidenced by the

 documents attached hereto as Exhibit 2.

                 Gomez never gave CMOF permission or authority to copy, distribute or display

 the Work at issue in this case.

                 Gomez notified CMOF of the allegations set forth herein on May 4, 2021 and

 May 20, 2021. To date, CMOF has failed to respond to Plaintiff’s Notices. Copies of the

 Notices to CMOF are attached hereto as Exhibit 3.


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                                         COUNT I
                                  COPYRIGHT INFRINGEMENT

                 Gomez incorporates the allegations of paragraphs 1 through 23 of this Complaint

 as if fully set forth herein.

                 Gomez owns a valid copyright in the Work at issue in this case.

                 Gomez registered the Work at issue in this case with the Register of Copyrights

 pursuant to 17 U.S.C. § 411(a).

                 CMOF copied, displayed, and distributed the Work at issue in this case and made

 derivatives of the Work without Gomez's authorization in violation of 17 U.S.C. § 501.

                 CMOF performed the acts alleged in the course and scope of its business

 activities.

                 CMOF’s acts were willful.

                 Gomez has been damaged.

                 The harm caused to Gomez has been irreparable.

         WHEREFORE, the Plaintiff Garey Gomez prays for judgment against the Defendant

 Ceramic Matrix of Florida, Inc that:

                 a.       Defendant and its officers, agents, servants, employees, affiliated entities,

         and all of those in active concert with them, be preliminarily and permanently enjoined

         from committing the acts alleged herein in violation of 17 U.S.C. § 501;

                 b.       Defendant be required to pay Plaintiff his actual damages and CMOF’s

         profits attributable to the infringement, or, at Plaintiff's election, statutory damages, as

         provided in 17 U.S.C. § 504;

                 c.       Plaintiff be awarded his attorneys’ fees and costs of suit under the

         applicable statutes sued upon;

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              d.      Plaintiff be awarded pre- and post-judgment interest; and

              e.      Plaintiff be awarded such other and further relief as the Court deems just

       and proper.

                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury of all issues so triable.

 DATED: November 22, 2021                     Respectfully submitted,


                                              /s/Craig A. Wirth
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